 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 1 of 19 PAGEID #: 364



                      UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION


HEINZ SIEMER,                       :             NO. 1:05-CV-00317
                                    :
            Plaintiff,              :
                                    :
      v.                            :             OPINION AND ORDER
                                    :
                                    :
COMET NORTH AMERICA,                :
                                    :
            Defendant.              :


            This matter is before the Court on Plaintiff’s Motion

for Partial Summary Judgment (doc. 17), Defendant’s Response in

Opposition (doc. 34); Defendant’s Motion for Summary Judgment

(doc. 19), Defendant’s Motion for Summary Judgment on Plaintiff’s

Claims under Ohio Revised Code §§ 4112.02(A) and (N) (doc. 33),

Plaintiff’s Consolidated Memorandum in Opposition to Defendant’s

Motions for Summary Judgment (doc. 36), and Defendant’s Reply

(doc. 38).     For the reasons indicated herein, the Court GRANTS

Plaintiff’s    Motion    for   Partial    Summary    Judgment     and    DENIES

Defendant’s Motions for Summary Judgment.

I.   Background

            Defendant Comet North America (“Comet”), the subsidiary

of a Swiss Company, Comet AG, sells various diagnostic equipment,

including     mass   spectrometers,      vacuum    capacitors,     and    x-ray

industrial tubes (doc. 1).         Plaintiff began working in May 2000
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 2 of 19 PAGEID #: 365



at Comet’s Cincinnati, Ohio branch, as Comet’s Vice President and

General   Manager         of   North    American    Operations        (Id.).         It   is

undisputed that Plaintiff’s performance for Comet resulted in

profits and that he received pay increases and bonuses, although

Defendant emphasizes he supervised sales personnel rather than

engaging in significant selling himself (Id.).

            In      April of 2004, Comet acquired Feinfocus, a German

manufacturer of specialty x-ray systems, along with its branch

offices in the United States (Id.).                   Shortly thereafter, Peter

Ruth, the CEO of Comet AG, explained to Plaintiff that due to the

acquisition, there would be an unnecessary duplication of sales

personnel      in    the       United   States     (Id.).           During     the    same

discussion, Plaintiff avers that Ruth told him because Plaintiff

was fifty-five years old, and because Ruth did not know how much

longer Plaintiff would work, he decided to appoint Lance Scott,

the   former     CEO      of    Feinfocus     prior      to   the    acquisition,         as

President of Comet North America (doc. 36).                    Ruth told Plaintiff

the   decision      had    nothing      to   do   with    Plaintiff’s        performance

(Id.).    According to Plaintiff, he replied to Ruth that he was

actually fifty-nine years old and that it would be very difficult

to find another job at his age (Id.).                    Plaintiff also indicates

he told Ruth he had no plans to retire until he was sixty-five or

seventy (Id.).            Defendant argues it offered to explore with

                                             2
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 3 of 19 PAGEID #: 366



Plaintiff other positions he could work at in the company, but

Plaintiff understood he had been fired and insists Ruth never

made him an alternative proposal (Id.).

             Plaintiff   subsequently          brought   the   present      lawsuit,

alleging that Defendant unlawfully discriminated against him on

account of his age in violation of the Age Discrimination in

Employment Act, (“ADEA”), 29 U.S.C. § 621 et seq. (doc. 1).                        On

September 8, 2006, Plaintiff amended his Complaint to add an age

discrimination      complaint      pursuant      to   Ohio     Revised      Code   §§

4112.02(A) and (N) (doc. 29).                 Defendant answered on September

22, 2006, denying Plaintiff’s claims and raising a counterclaim

for breach of fiduciary and common law duties (doc. 32).

II.   Summary Judgment Standard

             Although    a   grant       of    summary   judgment      is    not    a

substitute    for   trial,    it    is    appropriate     "if    the     pleadings,

depositions, answers to interrogatories, and admissions on file,

together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party

is entitled to a judgment as a matter of law."                  Fed. R. Civ. P.

56; see also, e.g., Poller v. Columbia Broadcasting System, Inc.,

368 U.S. 464 (1962); LaPointe v. United Autoworkers Local 600, 8

F.3d 376, 378 (6th Cir. 1993); Osborn v. Ashland County Bd. of

Alcohol, Drug Addiction and Mental Health Servs., 979 F.2d 1131,

                                          3
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 4 of 19 PAGEID #: 367



1133 (6th Cir. 1992)(per curiam).                 In reviewing the instant

motion, "this Court must determine whether the evidence presents

a sufficient disagreement to require submission to a jury or

whether it is so one-sided that one party must prevail as a

matter of law." Patton v. Bearden, 8 F.3d 343, 346 (6th Cir.

1993), quoting in part Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 251-52 (1986)(internal quotation marks omitted).

           The process of moving for and evaluating a motion for

summary judgment and the respective burdens it imposes upon the

movant and the non-movant are well settled.                  First, "a party

seeking summary judgment ... bears the initial responsibility of

informing the district court of the basis for its motion, and

identifying those portions of [the record] which it believes

demonstrate the absence of a genuine issue of               material fact[.]"

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); see also

LaPointe, 8 F.3d at 378; Guarino v. Brookfield Township Trustees,

980 F.2d 399, 405 (6th Cir. 1992); Street v. J.C. Bradford & Co.,

886 F.2d 1472, 1479 (6th Cir. 1989).               The movant may do so by

merely identifying that the non-moving party lacks evidence to

support   an   essential   element     of   its    case.    See   Barnhart   v.

Pickrel, Schaeffer & Ebeling Co., L.P.A., 12 F.3d 1382, 1389 (6th

Cir. 1993).

           Faced    with   such    a   motion,      the    non-movant,    after

                                       4
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 5 of 19 PAGEID #: 368



completion       of   sufficient    discovery,         must    submit    evidence    in

support of any material element of a claim or defense at issue in

the motion on which it would bear the burden of proof at trial,

even if the moving party has not submitted evidence to negate the

existence of that material fact.                 See Celotex, 477 U.S. 317;

Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986).                            As the

“requirement [of the Rule] is that there be no genuine issue of

material fact,” an “alleged factual dispute between the parties”

as   to   some    ancillary   matter       “will       not    defeat    an   otherwise

properly supported motion for summary judgment.”                        Anderson, 477

U.S. at 247-48 (emphasis added); see generally Booker v. Brown &

Williamson Tobacco Co., Inc., 879 F.2d 1304, 1310 (6th Cir.

1989).      Furthermore, "[t]he mere existence of a scintilla of

evidence    in    support   of     the    [non-movant’s]         position     will   be

insufficient; there must be evidence on which the jury could

reasonably find for the [non-movant]." Anderson, 477 U.S. at 252;

see also Gregory v. Hunt, 24 F.3d 781, 784 (6th Cir. 1994).

Accordingly, the non-movant must present "significant probative

evidence"     demonstrating        that       "there     is    [more     than]     some

metaphysical doubt as to the material facts” to survive summary

judgment and proceed to trial on the merits.                       Moore v. Philip

Morris Cos., Inc., 8 F.3d 335, 339-40 (6th Cir. 1993); see also

Celotex, 477 U.S. at 324; Guarino, 980 F.2d at 405.

                                          5
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 6 of 19 PAGEID #: 369



              Although the non-movant need not cite specific page

numbers of the record in support of its claims or defenses, "the

designated portions of the record must be presented with enough

specificity that the district court can readily identify the

facts upon which the non-moving party relies."                     Guarino, 980 F.2d

at 405, quoting Inter-Royal Corp. v. Sponseller, 889 F.2d 108,

111   (6th    Cir.    1989)(internal        quotation          marks   omitted).     In

contrast, mere conclusory allegations are patently insufficient

to defeat a motion for summary judgment.                       See McDonald v. Union

Camp Corp., 898 F.2d 1155, 1162 (6th Cir. 1990).                         The Court must

view all submitted evidence, facts, and reasonable inferences in

a light most favorable to the non-moving party. See Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986);

Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970); United States

v. Diebold, Inc., 369 U.S. 654 (1962).                   Furthermore, the district

court   may    not    weigh      evidence       or    assess    the    credibility   of

witnesses in deciding the motion.                    See Adams v. Metiva, 31 F.3d

375, 378 (6th Cir. 1994).

              Ultimately,        the   movant           bears      the     burden    of

demonstrating        that   no    material       facts    are    in    dispute.      See

Matsushita, 475 U.S. at 587.            The fact that the non-moving party

fails to respond to the motion does not lessen the burden on

either the moving party or the Court to demonstrate that summary

                                            6
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 7 of 19 PAGEID #: 370



judgment is appropriate. See Guarino, 980 F.2d at 410; Carver v.

Bunch, 946 F.2d 451, 454-55 (6th Cir. 1991).

III.   ANALYSIS

       A.   Plaintiff’s Motion for Partial Summary Judgment

             Defendant’s counterclaim is grounded in the theory that

Plaintiff knew he would bring a claim for age discrimination

during the pendency of his employment, that he knew Comet had an

insurance policy requiring notice of such claims, but that he

failed to notify the insurer about his age discrimination claims

(doc. 32).     Defendant argues that Plaintiff’s failure to notice

his own age discrimination claim was a violation of his fiduciary

duties and common law (Id.).

             Plaintiff   moved    for       partial   summary   judgment     on

Defendant’s counterclaim arguing that by the express terms of the

insurance policy in question, no claim existed until he filed in

state court, and at the time he filed, he was no longer an

employee of Comet (doc. 17).          Defendant responds that Plaintiff

knew about the insurance policy and should have reported the

claim (doc. 34).

             Having   reviewed     this       matter,    the    Court     finds

Plaintiff’s position well-taken that the express language of the

insurance policy defines “claim” as a “proceeding commenced by

the service of a complaint or charge” (doc. 17).                 There is no

                                        7
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 8 of 19 PAGEID #: 371



dispute that Plaintiff’s employment with Comet ended on September

30, 2004.        Plaintiff filed his claim on October 21, 2004 in the

Clermont County Court of Common Pleas, and faxed a copy of the

Complaint to Defendant’s counsel the following day.                       Clearly

Plaintiff did not commence the proceeding or serve his complaint

until well after his employment had ended.                   The Court sees no

actionable common law claim, nor a fiduciary duty here that

extended beyond the term of his employment.                   Accordingly, the

Court finds Plaintiff’s motion for partial summary judgment well-

taken,    and    dismisses    Defendant’s    counterclaims      for     breach   of

fiduciary duties and violation of common law.

     B.     Defendant’s Motions for Summary Judgment

             Defendant moved for summary judgment on Plaintiff’s

federal and state claims (docs. 19, 33).                 Defendant argues it

made a tough decision, for business and economic reasons, to

terminate Plaintiff’s employment, and that age never played a

role in its decision (doc. 19).           Defendant proffers evidence that

the candidate it chose, Lance Scott, was highly qualified and

possessed       specialized   knowledge     relevant    to    Comet’s    acquired

company, Feinfocus (Id.).         Ruth testified in his deposition that

Scott     was     market-oriented,    a     strong     communicator,       and   a

visionary, while Plaintiff was more internally focused and cost

oriented (Id.).        Ruth said his decision was made based on the

                                      8
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 9 of 19 PAGEID #: 372



skills of Lance Scott, not on the basis of age (Id.).                            Comet

disputes    the   allegation        that       Ruth     told    Plaintiff      because

Plaintiff was fifty-five, and because Ruth did not know how much

longer Plaintiff would work, Ruth decided to appoint Scott (Id.).

Even if Ruth made such a comment, argues Defendant, under the

rationale of Williams v. Tyco Electric Corp., 2006 U.S. App.

LEXIS (6th Cir. 2006), factual comments about age and retirement

do not amount to direct evidence of discrimination (Id.).

            Defendant’s motion attacks the viability of Plaintiff’s

age discrimination claims.           The issue for the Court is whether

Plaintiff   has   proffered        adequate      evidence      in    support   of   his

claims to survive summary judgment.

            In order to establish a claim of age discrimination,

Plaintiff may either introduce direct evidence of discrimination

or prove circumstantial evidence that would support an inference

of discrimination.         Kline v. Tenn. Valley Auth., 128 F.3d 337,

348 (6th Cir. 1997), Manzer v. Diamond Shamrock Chemicals Co., 29

F.3d 1078, 1081 (6th Cir. 1994); McDonnell Douglas Corp. v.

Green, 411 U.S. 792, 802,(1973); Ackerman v. Diamond Shamrock

Corp.,   670   F.2d   66    (6th    Cir.       1982).     The       same   evidentiary

framework   applies    to    discrimination           claims    brought     under   the

ADEA, and discrimination claims brought under Ohio state law.

Allen v. Ethicon, Inc., 919 F. Supp. 1093, 1098 (S.D. Ohio 1996).

                                           9
    Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 10 of 19 PAGEID #: 373



Ohio law, however, offers a slightly different definition of

“direct evidence,” declining to adopt the definition in federal

court       jurisprudence        encompassing        explicit      discriminatory

statements.          Bush v. Dictaphone Corp., 161 F.3d at 369-70 (6th

Cir. 1998)(citing Mauzy v. Kelly Servs. Inc., 75 Ohio St. 3d 578,

664 N.E.2d 1272, 1279 (Ohio 1996).                  The Ohio Supreme Court has

held that "direct evidence," refers to a method of proof, not a

type of evidence.           Mauzy, 75 Ohio St. 3d. at 587.          It means that

a      plaintiff      may    establish     a   prima       facie   case     of      age

discrimination directly by presenting evidence, of any nature, to

show that the employer more likely than not was motivated by

discriminatory intent.          Id.

               Plaintiff     argues    that    he    has   adequately      raised    a

genuine issue of material fact regarding age discrimination under

both direct and indirect evidence theories (Id.).

               I.    Direct Evidence Theory

               Direct evidence of discrimination occurs when either

the decision-maker or an employee who influenced the decision-

maker     made      discriminatory     comments     related   to   the    employment

action in question.           See Reeves v. Sanderson Plumbing, 530 U.S.

133, 152 (2000), Ross v. Campbell Soup Co., 237 F.3d 701, 707-08

(6th    Cir.     2001).       Direct    evidence     is    “evidence      which,    if

believed, requires the conclusion that unlawful discrimination

                                          10
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 11 of 19 PAGEID #: 374



was at least a motivating factor in the employer’s actions.”

Weberg v. Franks, 229 F.3d 514, 522 (6th Cir. 2000)(citations

omitted), Lautner v. American Tel. and Tel. Co., 1997 U.S. App.

LEXIS 1267, No. 95-3756,(6th Cir. Jan. 22, 1997)(Direct evidence

is "is evidence which if believed, would prove the existence of a

fact    .   .    .    without     any    inferences         or   presumptions.")         For

example, racial slurs or comments constitute direct evidence that

a termination may have been racially motivated.                            See Talley v.

Bravo Pitino Rest., Ltd., 61 F.3d 1241, 1249 (6th Cir. 1995).

Direct evidence can exist in cases where an adverse employment

decision        was    the   product       of        a   mixture    of   legitimate      and

illegitimate motives.             Price Waterhouse v. Hopkins, 490 U.S. 228

(1989), superceded           by    statute       on      other   grounds   as   stated    in

Norbuta v. Loctite Corp., 1 Fed. Appx. 305, 2001 U.S. App. LEXIS

459 (6th Cir. January 8, 2001).                  If a plaintiff produces credible

direct evidence of discrimination, discriminatory animus may be

at least part of an employer's motive, and in the absence of an

alternative, non-discriminatory explanation for that evidence,

there    exists       a   genuine       issue    of      material   fact   suitable      for

submission to the jury without further analysis by the court.

Blalock v. Metals Trades, Inc., 775 F.2d 703, 707-712 (6th Cir.

1985).

                In the case at hand, Plaintiff’s direct evidence theory

                                                11
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 12 of 19 PAGEID #: 375



is premised upon the disputed allegation that Ruth told him to

his face that he was fifty-five, Ruth was not sure how much

longer Plaintiff would be working, so Ruth opted for the younger

candidate.         As the Court must view Plaintiff’s evidence in a

light most favorable to him, the non-moving party, it appears at

first blush that Plaintiff has proffered direct evidence showing

that    unlawful      age    discrimination              may    have   been    a    motivating

factor in his termination.                     However, Defendant contends that

Williams v. Tyco Electric Corp., 161 Fed. Appx. 526 at 534 (6th

Cir.    2006),      applies       here.            The    Williams      court      found    that

statements         about    the       fact    that       employees      were       approaching

retirement         were    not    necessarily            evidence      of    inaccurate      and

stigmatizing        stereotypes,          which     are    the    target      of    the    ADEA.

Williams, 161 Fed. Appx. 526, 534.                             The Court explained that

statements merely acknowledging the truth that employees were

nearing      the    age    of    sixty       can   be     made    in   the    context      of   a

legitimate management concern.                      Id., citing Rowan v. Lockheed

Martin Energy Sys., 360 F.3d 544, 549 (6th Cir. 2004)(finding

that a statement referencing the average age of workers was made

in     the   context       of     a    legitimate         concern      about       approaching

retirements and consequently did not constitute direct evidence

of discrimination).

              Plaintiff argues that Williams is not on point with the

                                               12
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 13 of 19 PAGEID #: 376



facts of this case, because here an employee was told to his

face, individually, that he was not being chosen because of his

age, whereas in Williams the evidence in question involved a

general memorandum about some employees, and no employees were

involuntarily terminated.               The Court concludes, however, that

though the facts of this case may differ from those in Williams,

the   principle        of   Williams    still     applies.       The   Court   is   not

convinced that if it takes the alleged statements made by Ruth as

true, that such statements require the conclusion that unlawful

discrimination was a motivating factor. Weberg v. Franks, 229

F.3d 514, 522 (6th Cir. 2000).                The statements on their face do

not stigmatize or stereotype, and they require an inference to be

made.         Such    statements,   therefore,        do   not   constitute     direct

evidence       of     discrimination         under    Williams.         The    Court’s

conclusion, however, does not preclude Plaintiff from allowing a

jury to assess the credibility of Ruth and to ascertain the

intent behind his statements, because, as explained below, the

Court finds Plaintiff has established his prima facie case by

circumstantial evidence.

        II.    Plaintiff’s Indirect Evidence Theory

               When    a    plaintiff    cannot       demonstrate      discrimination

through       direct    evidence,      the    McDonnell      Douglas     paradigm    of

circumstantial evidence applies.                     McDonnell Douglas v. Green,

                                             13
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 14 of 19 PAGEID #: 377



411 U.S. 792 (1973).          In order to prevail on a circumstantial

evidence theory, a plaintiff must establish a prima facie case of

age discrimination by proving that (1) he was over forty, (2) he

was qualified, (3) he suffered an adverse employment action, and

(4) he was replaced by a younger person or that his termination

allowed the retention of a younger employee.               McDonnell Douglas,

411 U.S. 792.            In the context of a reduction in force, the

fourth prong is eliminated, and instead a plaintiff must come

forward with additional direct, circumstantial or statistical

evidence shows that the employer singled him out for discharge

for impermissible reasons.        Godfredson v. Hess & Clark, Inc., 173

F.3d 365, 371 (6th Cir. 1999), Barnes v. GenCorp., 896 F.2d 1247

(6th Cir. 1990).

            In this case, Defendant argues that Plaintiff did not

show a genuine issue of material fact as to whether he was

qualified   for    the    position   of      President   and   Chief   Executive

Officer   of     Comet   (doc.   38).        Defendant   further   argues   that

Plaintiff failed to proffer additional circumstantial, direct, or

statistical evidence as part of his prima facie case (doc. 38).

            a.    Plaintiff’s Qualification For His Position

            The focus at this stage of the analysis should be on

Plaintiff’s objective qualifications, such as his experience in

the particular type of work and demonstrated possession of the

                                        14
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 15 of 19 PAGEID #: 378



required general skills.        See Wexler v. White’s Fine Furniture,

Inc., 317 F.3d 564, 2003 U.S. App. LEXIS 1223, *27 (6th Cir.

January 27, 2003).      As the prima facie case is not intended to be

burdensome,    searching     analysis      at   this    stage   on   whether      a

plaintiff is "qualified" is improper.                  McCrory v. Kraft Food

Ingredients, No. 94-6505, 1996 U.S. App. LEXIS 26305 *14(6th Cir.

October 3, 1996).

           Plaintiff proffers evidence here that he performed well

for three years as Comet’s top manager.                  Defendant offers no

persuasive evidence to the contrary.            While Defendant argues the

new position in the consolidated company would be different,

Ruth’s testimony can fairly be read to show that the competition

between Plaintiff and Lance Scott was close, but that the two had

different personalities.         The testimony does not suggest that

Plaintiff was unqualified for the position.              The prima facie case

is not intended to be burdensome.           McCrory, 1996 U.S. App. LEXIS

26305 *14.       The Court is satisfied that Plaintiff meets the

requirement of showing he possessed the required general skills

to remain as Comet’s top manager in the newly merged company.

Accordingly, summary judgment for Defendant on the theory that

Plaintiff was unqualified is inappropriate.




                                      15
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 16 of 19 PAGEID #: 379



               b.   The Heightened Prima Facie Case in Reduction in
               Workforce Context

               Defendant argues that Plaintiff has the additional

burden    in    this    case     to    proffer         direct,      circumstantial,           or

statistical       evidence      showing      that       he    was     singled      out    for

discharge for impermissible reasons, because this case involves a

reduction in force.        (doc. 19, citing Godfredson v. Hess & Clark,

Inc., 173 F.3d 365, 371 (6th Cir. 1999), and Barnes v. GenCorp.,

896 F.2d 1247 (6th Cir. 1990)).                       The Sixth Circuit defines a

reduction       in     workforce       “as        a    situation       where        business

considerations       cause      an    employer         to    eliminate       one    or   more

positions within the company.”               Oil, Chemical, and Atomic Workers

Internat’l Union v. RMI Titanium Co., 199 F.3d 881, 885 (6th Cir.

2000).

               As a preliminary matter, the Court is not convinced the

factual   situation       in    this   case       falls      within    the    scope      of   a

classic workforce reduction.                 Here, a company acquired another

company and as a result reorganized its operations and staffing.

The position of the leader was not necessarily eliminated, but

rather    the     scope    of    the    leader’s            responsibility         expanded.

Moreover, Defendant indicates it offered new positions in the

merged company to employees, including Plaintiff.                              Taking all

factual inferences in favor of Plaintiff, the Court concludes



                                             16
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 17 of 19 PAGEID #: 380



that as a matter of law, this case does not involve workforce

reduction, and therefore Plaintiff is not required to meet a

heightened        pleading       duty   to    establish    his    prima    facie   case.

Plaintiff clearly meets the classic McDonnell Douglas prima facie

case, as he clearly falls within the protected class, suffered an

adverse employment action, was qualified, and was replaced by a

younger person.

                 However, out of an abundance of caution, even should

the Court’s conclusion be erroneous that this case does not

involve      a    workforce      reduction,        the   Court   further   finds     that

Plaintiff meets the heightened pleading requirements under Barnes

v. GenCorp., 896 F.2d 1247 (6th Cir. 1990).                             In addition to

meeting the basic requirements of McDonnell Douglas, Plaintiff

proffers the alleged statements of Ruth about Plaintiff’s age and

potential retirement.             Although such statements do not qualify as

direct evidence of discriminatory motive, as explained above,

such   comments          could    be    viewed      as   additional     circumstantial

evidence of such motivation.                  A jury, sizing up the credibility

of   Ruth,       might    or   might    not    infer     that    such   statements    are

evidence of age discrimination.                     Accordingly, the Court finds

that even if this case involves a heightened pleading duty,

Plaintiff meets it.




                                              17
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 18 of 19 PAGEID #: 381



III.   The Pretext Analysis

            After   Plaintiff     presents     a   prima    facie    case,    as

Plaintiff has done here by circumstantial evidence, Defendant

must     present    a    legitimate     non-discriminatory        reason     for

termination.       St. Mary’s Honor Center v. Hicks, 509 U.S. 502

(1993).        In response, Plaintiff must show that Defendant’s

articulated reason for the termination is a pretext for age

discrimination.         Id. at 507.     Plaintiff can prove pretext by

showing that “(1) the proffered reasons had no basis in fact, (2)

the proffered reasons did not actually motivate his discharge, or

(3) they were insufficient to motivate discharge.”                   Manzer v.

Diamond Shamrock Chemicals Co., 29 F.3d 1078, 1084 (6th Cir.

1994).     The Court must not invoke the business judgment rule to

exclude consideration of evidence relevant to the question of

pretext.    Wexler v. White’s Fine Furniture, Inc., 317 F.3d 564,

2003 U.S. App. LEXIS 1223, *32.

            Here,         Defendant’s          proffered            legitimate

nondiscriminatory reason for its decision is that Lance Scott was

better qualified to run the organization than Plaintiff.                     The

Court finds that Plaintiff has raised a genuine issue of material

fact as to whether this reason had basis in fact.                    Plaintiff

proffers evidence that Scott had not shown profit for several

years while president of Feinfocus, that Feinfocus sales were

                                      18
 Case: 1:05-cv-00317-SAS Doc #: 44 Filed: 11/30/06 Page: 19 of 19 PAGEID #: 382



about a third the size of those of Comet, and that Defendant

admitted Feinfocus suffered from “weak management” (doc. 36).                     A

reasonable     jury      could    conclude      that   Scott   was    not    better

qualified than Plaintiff, who had successfully managed Comet with

profit, and that Defendant would not have made the same decision

absent age discrimination.

IV.   Conclusion

             Having reviewed this matter, the Court concludes that

Plaintiff has adequately met the burden to establish a prima

facie case of age discrimination, in violation of the ADEA and

Ohio law.          Plaintiff has further raised a genuine issue of

material    fact    as   to   whether      Defendant’s    proffered    legitimate

nondiscriminatory reasons for its actions are grounded in fact.

For these reasons, Plaintiff’s claims survive summary judgment.

However,     the     Court       does   not     find   merit   in     Defendant’s

counterclaims for breach of fiduciary and common law duties.

Accordingly,       the   Court    GRANTS    Plaintiff’s    Motion    for    Partial

Summary Judgment (doc. 17), and DENIES Defendant’s Motion for

Summary Judgment (doc. 19), and further DENIES Defendant’s Motion

for Summary Judgment on Plaintiff’s Claims under Ohio Revised

Code §§ 4112.02(A) and (N) (doc. 33).

             SO ORDERED.


Dated: November 30, 2006                s/S. Arthur Spiegel
                                        S. Arthur Spiegel
                                        United States Senior District Judge


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